                        IN THE UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF ALABAMA
                                   NORTHERN DIVISION


IN RE:                        )
                              )
JAMES P. HAFNER,              )
SSN: xxx-xx-4908              )
                              )                   CASE NO: 17-82779-CRJ-7
SUSAN D. HAFNER,              )
SSN: xxx-xx-5652              )
                              )
      Debtors.                )                   CHAPTER 7
                              )
______________________________)
                              )
RAYMOND CRUMPTON,             )
                              )
                              )
      Plaintiff,              )
                              )
v.                            )                   AP NO: 17-80105-CRJ
                              )
JAMES PALMER HAFNER,          )
                              )
      Defendant.              )

                                   ANSWER TO COMPLAINT

        Comes now the Defendant, JAMES P. HAFNER, and for Answer to the COMPLAINT
TO DETERMINE DISCHARGEABILITY filed by the Plaintiff, RAYMOND CRUMPTON,
states as follows:

         1.   Admitted.

         2.   Admitted.

         3.   Admitted.

         4.   Neither Admitted nor Denied.

         5.   Denied.

         6.   Denied.




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                                                                AP No. 17-80105-CRJ



      7.    Denied.

      8.    Denied.

      9.    Denied.

      10.    Denied.

      11.    Denied.

      12.    Denied.

      13.    Denied.

      14.    Denied.




                                              /s/ G. John Dezenberg, Jr.
                                              G. JOHN DEZENBERG, JR.
                                              DEZENBERG & SMITH, PC
                                              Attorneys for Defendant
                                              908-C North Memorial Parkway
                                              Huntsville, Alabama 35801
                                              Phone: (256) 533-5097




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                                CERTIFICATE OF SERVICE


        I hereby certify that a copy of the foregoing was served on the following by placing
copies in the United States Mail, first-class postage prepaid, and addressed as follows:

               Hon. Judith Thompson                 Hon. Tazewell T. Shepard, III
               Chapter 7 Trustee                    Sparkman, Shepard & Morris, PC
               P.O. Box 18966                       P.O. Box 19045
               Huntsville, AL 35804                 Huntsville, AL 35804

       Done this 3rd day of January, 2018.



                                                            /s/ G. John Dezenberg, Jr.
                                                            G. JOHN DEZENBERG, JR.
                                                            Attorney for Defendant




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